         Case 1:13-cr-10200-GAO Document 107 Filed 09/27/13 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                        )
                                                )       Crim. No. 13-10200-GAO
v.                                              )
                                                )
                                                )
DZHOKHAR TSARNAEV                               )


   DEFENSE RESPONSE TO GOVERNMENT NOTICE REGARDING DEATH
 PENALTY PROTOCOL TIMING AND MOTION TO POSTPONE SETTING OF
  DEADLINE FOR DEFENSE MITIGATION SUBMISSION TO U.S. ATTORNEY

       Defendant, Dzhokhar Tsarnaev, through counsel, respectfully responds to the

government’s Notice Regarding the Timing of any Filing under 18 U.S.C. § 3593(a) [DE 98] and

moves to postpone any deadline for a local defense presentation to the United States Attorney

until the defense has had a reasonable opportunity to obtain and review discovery and to conduct

further independent mitigation investigation.

       Simply put, the government’s deadline of October 24, 2013 fails to provide the defense

with a “reasonable opportunity” to make a presentation to the United States Attorney concerning

death penalty authorization. This arbitrary date falls less than two months after the government’s

production of multiple terabytes of discovery, while an important preliminary defense request for

Brady material is still pending, and while the defense is still in the early stages of independent

investigation that literally spans the globe. This Court should exercise its inherent scheduling

authority to ensure that the defense can make a meaningful presentation, which, in turn, will

promote more fair, orderly and, indeed, cost-effective progression of the case.

       Government counsel resist the defense request that this Court extend the U.S. Attorney-

imposed deadline for the defense mitigation submission and argue that the Court’s only authority

with regard to this scheduling is to set a deadline for the Attorney General to file a notice of
                                                    1
        Case 1:13-cr-10200-GAO Document 107 Filed 09/27/13 Page 2 of 8




intention to seek the death penalty pursuant to 18 U.S.C. § 3593(a). In doing so, the government

fails to acknowledge its own requests to twice delay the proceedings. The government further

fails to acknowledge the participation of the Department of Justice in the development of CJA

Guideline 6.04, which urges the Court to set a schedule for the local defense mitigation

submission, and ignores cases in which district courts have done so. See March 25, 2008

Memorandum from Judge John Gleeson (“Gleeson Memo”) (filed at DE 97); U.S. v. McGill,

2010 WL 1571200 (S.D. Cal. Apr. 16, 2010); U.S. v. Benevides and Weber, No. 06-62 (D. Mt.

Oct. 22, 2008) (copy of order attached as Exhibit A).

       In response, the defendant files this memorandum addressing the Court’s authority to

establish a schedule for the process to resolve the question of whether the government will seek

the death penalty against Dzhokhar Tsarnaev.        The defendant also now moves this Court,

pursuant to the Sixth and Eighth Amendments to the U.S. Constitution, CJA Guideline 6.04, Fed.

R. Crim. P. 57(b), and the inherent authority of the Court, to postpone the government’s current

October 24, 2013 deadline for the defense mitigation submission pending resolution of current

discovery issues regarding mitigating and exculpatory evidence and a reasonable opportunity for

the defense to investigate and make a meaningful mitigation presentation to the U.S. Attorney.1

                     Factual Background and Delay by the Government

       Dzhokhar Tsarnaev was arrested on April 19, 2013, and charged by complaint filed April

21, 2013 with two offenses punishable by death under 18 U.S.C. § 2332a(a) (use of a weapon of

1
  See USAM 9-10.080 (“In any case in which the United States Attorney or Assistant Attorney
General is considering whether to request approval to seek the death penalty, the United States
Attorney or Assistant Attorney General shall give counsel for the defendant a reasonable
opportunity to present any facts, including any mitigating factors, for the consideration of the
United States Attorney or Assistant Attorney General.”). In addition, the defense is given an
opportunity to comment on the many factors considered by the Attorney General, including the
strength of the evidence of aggravating factors.

                                                2
         Case 1:13-cr-10200-GAO Document 107 Filed 09/27/13 Page 3 of 8




mass destruction); 18 U.S.C. § 844(i) (malicious destruction of property resulting in death). Mr.

Tsarnaev made his initial (Rule 5) appearance from a hospital bed on April 22, 2013.

Thereafter, the government sought and obtained the defendant’s assent to extend the 30-day

deadline for returning an indictment under the Speedy Trial Act, and delayed the return of the

indictment until June 27, 2013. After Mr. Tsarnaev was arraigned on July 10, the government

sought to extend the 28-day deadline for production of automatic discovery set by the Local

Rules. After again requesting and obtaining defense assent, the government was granted an

additional 32 days for providing this discovery to the defense. The government requested, and

the defense agreed to these delays in light of the complexity of the case and volume of

anticipated discovery. The government took full advantage of its requested delay, and did not

produce automatic discovery until September 3, 2013.2

       The government now makes much of the fact that it extended one arbitrarily imposed

deadline for a mitigation submission at the request of the defense, and then unilaterally reset that

deadline to a date six (6) months after the events of April 15, 2013. Again, the government fails

to mention that the first mitigation submission deadline it set (August 23, 2013) was less than 60

days after return of the indictment and some ten (10) days before the production of automatic

discovery. The second deadline, again set without any consultation with the defense, seems to

have been chosen simply because it comes approximately six (6) months after the events of April

15, 2013.

       The reasonable time frame for a defense mitigation submission should be based on the

time the defense has had to review discovery and conduct even a preliminary independent



2
   This automatic discovery was produced on multiple hard drives, which contain several
terabytes of videos, pictures and other documents. Initial review of these materials is ongoing.

                                                 3
         Case 1:13-cr-10200-GAO Document 107 Filed 09/27/13 Page 4 of 8




mitigation investigation.3   But for the government’s requested delays to date, automatic

discovery would have been provided by the end of June 2013, and any dispute regarding the

failure to produce existing exculpatory and mitigation materials could well have been resolved

by now. The advantages obtained by the government when it gained relief from real charging

and disclosure deadlines should not now operate to disadvantage the defendant, by imposing on

him an inflexible deadline that will effectively preclude him from being able to make a

meaningful presentation of the mitigating factors that the U.S. Attorney must weigh in arriving at

her sentencing recommendation.

       At the status conference held on September 23, government counsel stated, “The U.S.

Attorney in this case is fully aware of all the government's evidence, and in order to make this

decision, the Attorney General does not need the defense's thorough consideration and

commentary on all of it.” R.T. 9/23/13 at 17. This statement suggests an apparent rush to

judgment that is contrary to the spirit of the Department of Justice’s protocol, the CJA

Guidelines, and the interests of justice. The government cannot possibly make a well-informed

decision without hearing from the defense and without allowing the defense to make a

presentation informed by its own investigation and the information available to the government.

       The government’s expressed desire for an expeditious decision should be considered

against the fact that the average time from indictment to the Attorney General’s decision

3
  Here, in addition to the delay in producing discovery, there are numerous challenges to the
defense mitigation investigation, including that much family history is half a world away. In the
U.S., one potential witness was killed by an FBI agent; others have been charged in criminal
investigations, and there is apparently an ongoing grand jury investigation. The defense has also
been slowed and hampered by imposition of Special Administrative Measures (SAM), which
greatly restrict access to the defendant, and which affect the information the defense may share
in the process of its investigation. By way of a separate pleading, the defense intends to litigate
the applicability of the SAM to this case, and to address some of the provisions that directly
affect the work of the defense.

                                                4
        Case 1:13-cr-10200-GAO Document 107 Filed 09/27/13 Page 5 of 8




regarding the death penalty is 13 months, and the average time to trial is 27.3 months. See April

2013 Declaration of Kevin McNally, director of the Federal Death Penalty Resource Counsel

Project, attached as Exhibit B. For a host of obvious reasons, this case is far more complex than

the “average” capital prosecution.

                                         Legal Authority

       At least two courts have published orders explaining the exercise of authority to postpone

a defense mitigation submission under the DOJ death penalty protocol. In McGill, the court

explained:

       The Court unquestionably has the authority to issue scheduling orders designed to
       manage its docket. United States v. Grace, 526 F.3d 499, 509 (9th Cir.2008).
       “[T]he district court is charged with effectuating the speedy and orderly
       administration of justice.” Id. at 508. To that end, the court may enter pretrial case
       management orders “designed to ensure that the relevant issues to be tried are
       identified, that the parties have an opportunity to engage in appropriate discovery
       and that the parties are adequately and timely prepared so that the trial can
       proceed efficiently and intelligibly.” Id. at 509.

       In September of 2007, the Judicial Conference of the United States approved a
       Criminal Justice Act Guideline [the “Gleeson Memo”], developed jointly by
       Department of Justice staff and defender services representatives, which
       recommends that the trial court establish a schedule for resolution of whether the
       government will seek the death penalty. Guide to Judiciary Policy, Vol. 7, Pt. A,
       Ch. 6, § 670. Pursuant to these guidelines, courts routinely enter scheduling orders
       designed to avoid undue delay attributable to the Attorney General's consideration
       of whether to seek the death penalty. Courts routinely establish an outside date by
       which (1) the defendant must present evidence to the United States Attorney as to
       why the government should not seek the death penalty, (2) the United States
       Attorney must make a recommendation to the Department of Justice, and (3) the
       government must file its notice under 18 U.S.C. § 3593(a) that it will seek the
       death penalty or notify the court and defendant that it will not. Because any delay
       by the Attorney General in making the decision whether to seek the death penalty
       would impact the trial date, the government cannot argue that the trial court lacks
       authority to enter such a scheduling order to further the “speedy and orderly
       administration of justice.”

       The question here, then, is whether this Court can issue a scheduling order which
       effectively requires the Department of Justice to delay its consideration of
       whether to seek the death penalty. Such an order can only be justified as an

                                                 5
          Case 1:13-cr-10200-GAO Document 107 Filed 09/27/13 Page 6 of 8




        exercise of the Court's inherent authority if it furthers the goal of “speedy and
        orderly administration of justice,” or is “designed to ensure that the relevant
        issues to be tried are identified, that the parties have an opportunity to engage in
        appropriate discovery and that the parties are adequately and timely prepared so
        that the trial can proceed efficiently and intelligibly.” Grace, 526 F.3d at 509. The
        Court believes a scheduling order as requested by defendant, allowing additional
        time for presentation of mitigation evidence to the U.S. Attorney, furthers each of
        these goals.

2010 WL 1571200 at 3; see also Benavides, at 6 (same); Fed. R. Crim. P. 57(b) (“A judge may

regulate practice in any manner consistent with federal law, these rules, and the local rules of the

district.”).

        The government’s reliance on United States v. Slone, 2013 WL 5217932 (E.D. Ky. Sept.

13, 2013), is misplaced. Slone was based on the proposition that the U.S. Attorney’s manual, of

which the Death Penalty Protocol is a part, does not create enforceable rights. See also United

States v. Hardrick, 2011 WL 2516340 (E.D. La. Jun. 22, 2011) (same). As the Court explained

in McGill, this is a non-sequitur:

        In issuing a scheduling order, the Court is not granting defendant any new right or
        invading the province of the Department of Justice to determine, according to its
        protocol, whether to seek the death penalty in this case. The government has not
        shown how a brief delay in the defendant’s presentation of mitigation evidence to
        the U.S. Attorney will hinder its ability to carry out its prosecutorial function. The
        scheduling order is designed purely to ensure this case proceeds to trial in an
        orderly and expeditious manner without unnecessary expense.

2012 WL 157120 at 4.4

        The Gleeson Memo specifically advises the Court that the “schedule should be

flexible and subject to extension for good cause at the request of either party.” The work



4
  United States v. Lopes-Matias, 522 F.3d 150 (1st Cir. 2008), cited by the government, is
likewise inapposite. In that case, the First Circuit reversed a district court order striking the
government’s notice of intent to seek the death penalty based on failure to follow the Protocol,
holding that a violation, “by itself, would not give rise to the sanction imposed here.” In this
case, the defense is not seeking the enforcement of any right or imposition of any sanction but
rather the mere exercise of scheduling authority.
                                                  6
         Case 1:13-cr-10200-GAO Document 107 Filed 09/27/13 Page 7 of 8




of Judge Gleeson, and the Judicial Conference action was clearly part of an effort at cost

containment – recognizing that long delays were problematic, but also that adequate time

for the parties to meet their obligations could result in decisions that could save

substantial costs over the long run.

                                          Conclusion

       For all of the foregoing reasons, counsel for defendant Dzhokhar Tsarnaev request that

this Court enter an order postponing the October 24, 2013 deadline for the defense mitigation

submission to a date to be set following resolution of the current dispute regarding mitigation

and exculpatory discovery, and a reasonable opportunity for the defense to prepare a meaningful

submission.

       Dated: September 27, 2013

                                            Respectfully Submitted,

                                            /s/ William Fick

                                            Judy Clarke, Esq.
                                            California Bar: 76071
                                            CLARKE & RICE, APC
                                            1010 Second Avenue, Suite 1800
                                            San Diego, CA 92101
                                            (619) 308-8484
                                            JUDYCLARKE@JCSRLAW.NET

                                            Miriam Conrad, Esq. (BBO # 550223)
                                            Timothy Watkins, Esq. (BBO # 567992)
                                            William Fick, Esq. (BBO # 650562)
                                            FEDERAL PUBLIC DEFENDER OFFICE
                                            51 Sleeper Street, 5th Floor
                                            (617) 223-8061
                                            MIRIAM_CONRAD@FD.ORG
                                            WILLIAM_FICK@FD.ORG
                                            TIMOTHY_WATKINS@FD.ORG




                                                7
         Case 1:13-cr-10200-GAO Document 107 Filed 09/27/13 Page 8 of 8




                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on September 27,
2013.

                                                               /s/ William Fick




                                                 8
